            Case 3:17-cv-00101-RDM Document 307 Filed 05/24/19 Page 1 of 5

1700 G Street NW,
Washington, DC 20552

May 24, 2019
Via ECF (publicly with redactions and under seal without
redactions) and Email (without redactions)
The Honorable Thomas I. Vanaskie, Special Master
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

       Re:     CFPB v. Navient Corp., et al., Case No. 3:17-CV-00101-RDM
Dear Judge Vanaskie:
        I write on behalf of the Bureau to respond to Defendants’ May 17, 2019 letter. For the
reasons explained below, the relief that Defendants seek should be denied. However, if Your Honor
grants any of the relief that Defendants seek, the Bureau respectfully requests that Your Honor also
order: (1) relief to account for the serious flaws that the Bureau has uncovered with respect to
Defendants’ responsiveness review, and (2) an extension of the fact discovery deadline.
       1.      As is now evident, the Bureau’s responsiveness review was done properly.
       The Bureau recently re-reviewed documents that contain the word “Navient” or “Pioneer,”
producing all non-privileged documents and logging the remainder in compliance with Special
Master Report #1 (Doc. 221). This re-review was premised on Defendants’ assertion that any
documents in the Bureau’s possession that hit on the terms “Navient” or “Pioneer” were relevant.
        As the Bureau has always maintained, the Bureau’s responsiveness review was conducted
properly. Now, with the Bureau having completed a re-review that consumed over 2000 hours – and
the bulk of the Bureau’s efforts during the six-month extension of fact discovery – it is clear that the
Bureau was correct. Many of the documents that the Bureau has produced as a result of the re-
review plumb the depths of irrelevance, including (as the Bureau correctly presaged) “countless
documents where people are referred to as pioneers in their field” (1/28/19 Hearing Trans. at 124-
25), as well as résumés from job applicants to the Bureau containing the word “pioneer,” documents
containing street addresses with the word “pioneer,” financial disclosure forms of Bureau personnel
who have investments in mutual funds containing the word “pioneer,” and printouts from Westlaw
of legal opinions containing the word “pioneer.” If the Bureau had produced these types of
documents in response to Defendants’ requests for production, without a court order to do so, the
Bureau likely would have faced accusations of document dumping. The re-review has also resulted
in the production of huge swaths of documents that the parties agreed at the outset of this case did
not need to be produced or logged, including “the internal communications of Bureau enforcement
staff” (A2) and documents that “merely . . . reference[] the existence of the lawsuit or investigation”
(A9).
        Faced with the foregoing facts, Defendants have tried to move the goalposts, abandoning the
idea that all or most of the re-reviewed documents are relevant, and instead trying to claim that
“thousands” of unidentified documents are relevant. For example, on the May 14, 2019
teleconference, Defendants stated: “it’s clear to us that thousands of relevant documents were held
until this stage of discovery, and, also, now, given the size of the log, that thousands of documents
Case 3:17-cv-00101-RDM Document 307 Filed 05/24/19 Page 2 of 5
            Case 3:17-cv-00101-RDM Document 307 Filed 05/24/19 Page 3 of 5



CFPB.”). After the Court required production of certain documents, it became clear that Defendants
had unquestionably withheld relevant documents. For example, with respect to borrower
          Navient produced form letters – not tailored at all to her situation – dated September 29,
2012 and March 8, 2013 that listed various repayment options; this form letter is routinely sent to
borrowers, and is not in any way an indication of what is discussed on a particular call. However,
Navient improperly withheld letters bearing those exact same dates and tailored specifically to her
confirming her verbal enrollment in forbearances. See A29-30, A32-33. And Navient further
improperly withheld three calls in which Ms.            was placed into forbearance without
advising her about income-driven repayment. See A45. It was only because of the Bureau’s efforts
to expose Navient’s improper withholding that these incriminating documents and calls saw the
light of day (which did not occur until after Ms.          had been deposed). The Bureau’s efforts –
which involved hundreds of hours of work that should have never been necessary in the first place –
uncovered that Defendants’ improper withholding of documents and calls was not limited to Ms.
          but instead was present across multiple borrowers whom Defendants deposed.
       In light of the foregoing, there are two possibilities: (1) Defendants misrepresented to the
Court that they were not withholding relevant documents, when they clearly were; or (2)
Defendants used an exceedingly narrow standard for relevance pursuant to which clearly
incriminating documents were deemed to be not relevant. The Bureau’s concerns are heightened
because Defendants have been resistant to providing basic information about their responsiveness
review, in stark contrast to the Bureau. The differences between the parties are summarized below:
                                                                            Bureau     Defendants
 Produced complete list of search terms used                                Yes        No 1
 Used broad search terms likely to yield more non-responsive documents Yes             No
 Produced hit counts for every search term, along with total volume for all Yes        No
 search terms
 Offered to produce complete list of custodians, and search terms for each Yes         No
 Complained about percentage of documents produced, without sharing         No         Yes
 comparable information

         In light of Defendants’ repeated assurances that their responsiveness review was done
properly, it is bizarre that they have refused to share basic facts about their search and review
efforts. This unwillingness, combined with the substantial evidence that Defendants have withheld
responsive documents, demonstrates the need for their responsiveness review to be tested.

       3.      If any relief is ordered, the Bureau respectfully submits that it must be bilateral.
        Before the Court proceeds with another round of in camera review premised on the false
notion that the Bureau’s responsiveness review was flawed, there must be some testing of
Defendants’ claim that their production was proper. Given the history of Defendants’ withholding
of incriminating documents, there should be a sampling of Defendants’ unproduced documents to
allow for an error rate of improperly withheld, relevant documents to be calculated, and then

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           In the May 14, 2019 teleconference, Defendants claimed that they had provided a complete
list of their final search terms to the Bureau. See 5/14/19 Hearing Trans. at 19. Defendants should
produce the alleged communication containing those final search terms to the Court. (The Bureau
received no such list.)
                                                     3
            Case 3:17-cv-00101-RDM Document 307 Filed 05/24/19 Page 4 of 5



compared with the corresponding error rate from the Bureau’s recently produced documents
mentioning “Navient” or “Pioneer.”
        Alternatively, if the Court is inclined to grant in camera review without any sampling, and
purely based on Defendants’ continued speculation that responsive documents have been withheld,
the Bureau submits that it should receive responsive documents that have been withheld. The
Bureau is not speculating that such documents have been withheld, but instead, as described above,
there is actual evidence of such withholding. Specifically, all of the following should be produced:
(1) every email that Mr. Remondi sent or received regarding                           ; (2) every email
that Mr. Montgomery sent to or received from an entity other than Navient Corporation or one of its
subsidiaries; and (3) all calls and correspondence for every deposed borrower, along with an
affidavit itemizing every call and correspondence that could not be located within Navient’s
servicing systems, and describing the steps undertaken to locate such calls and correspondence.
       4.      If any relief is ordered, it should include an extension of the discovery deadlines.
       The Bureau has been greatly prejudiced by Defendants’ delayed productions in this case,
compounded by the Bureau’ having to re-review documents hitting on the terms “Navient” or
“Pioneer.” Thus, if any additional discovery tasks are ordered relating to the Bureau’s document
productions, there should be an extension of the fact discovery deadline.
       As an initial matter, Defendants’ narrative concerning the Bureau’s pace of production
throughout this litigation is incorrect:
•   The Bureau has made productions at a faster pace than Defendants. Defendants falsely claim
    that, “[i]n January 2018, having received only 600 documents, Defendants raised their concerns
    with the Court,” and cite to docket entry #68. See May 17, 2019 Letter, at 1. That docket entry,
    filed on January 5, 2018, says nothing about the volume of the Bureau’s production – which was
    well over the 600 documents cited by Defendants (and which included productions on August 4,
    2017 and November 7, 2017). Indeed, it would have been odd for Defendants to complain at
    that time about the volume of documents produced by the Bureau in light of the fact that they
    had not produced a single document in the litigation by that date (even though the Bureau’s
    requests for production were served earlier than Defendants’ requests for production, and had
    been pending for approximately eight months by that time). The Bureau also concluded the bulk
    of its productions in response to Defendants’ document requests in the spring of 2018, while
    Defendants waited until eight weeks prior to the close of fact discovery in December 2018 to
    produce approximately half of their production.
•   The Bureau also preceded Defendants with respect to production of a privilege log. After
    Defendants informed the Court that they would produce their initial privilege log on May 9,
    2018, and urged the Court to hold the Bureau to the same deadline (which the Bureau indicated
    was not possible) (see 4/17/18 Hearing Trans. at 144-45), Defendants blew past their own
    deadline. By May 9, 2018, Defendants had only generated a two-page list of 11 privilege
    categories, with no listing of documents withheld under each category. A36-37. This was
    obviously not a proper privilege log. Defendants provided a metadata extract listing documents
    withheld under each of the 11 categories on July 9, 2018. The Bureau’s complete initial
    privilege log – which included 70 categories, a 70-page declaration, and a production of
    redacted versions of all documents falling within each category – was served on June 29, 2018.
•   Just two days ago, Defendants produced 3,268 documents that they had previously withheld
                                                   4
          Case 3:17-cv-00101-RDM Document 307 Filed 05/24/19 Page 5 of 5



    based on the FDIC’s bank examination privilege, without load files or basic metadata, as the
    parties routinely do and as is required by the Discovery Protocol. This forced the Bureau to
    request that Defendants produce the missing information and delayed the Bureau’s ability to
    load the documents for review and use them in this litigation. A40.
        Indeed, in light of Defendants’ delayed productions in this case, it is ironic for Defendants to
now claim that the deadlines for the Bureau to complete its production and logging of documents
hitting on the terms “Navient” and “Pioneer” was too “lengthy,” putting Defendants in the position
of having “insufficient time” for review and having to raise challenges at the “eleventh hour.” May
17 Letter, at 1-2. Consider the following facts:
•   Defendants produced approximately 455,000 documents and a corresponding privilege log on
    October 9, 2018, after lengthy delays. This production contained virtually all of the internal
    emails of Navient Solutions that were produced in this litigation. Yet despite the fact that this
    production occurred at the eleventh hour – seventeen months after the Bureau’s requests for
    production, and a mere eight weeks before the December 2018 fact discovery deadline, leaving
    the Bureau insufficient time for review – Defendants resisted an extension of the fact discovery
    deadline. The Bureau has still had only two months to review these 455,000 documents, as the
    Bureau, beginning in December 2018, had to expend the bulk of its time to re-reviewing the tens
    of thousands documents hitting on the terms “Navient” and “Pioneer.”
•   Nearly fifteen months after the Bureau asked for call records, production of those records is still
    not complete. That is largely because Defendants tried every tactic possible to prevent the
    Bureau from gaining access to any of those records, leading to lengthy delays. See Doc. 117 at
    3-5. For example, in February 2018, the Bureau – concerned about excuses that Defendants
    were using to delay their productions – wrote as follows: “To the extent that Defendants believe
    that approval from the U.S. Department of Education is necessary . . . , we are happy to
    participate in any discussions that occur on this subject with the U.S. Department of Education
    and recommend that those discussions occur as soon as possible to avoid any delays in
    production.” A43. Defendants did not respond to this message, but then several months later,
    invoked approval from the U.S. Department of Education as a reason that data and calls could
    not be produced to the Bureau. Thus, the Bureau is now receiving those productions at the
    eleventh hour, with insufficient time for review.
        In light of the foregoing, it is simply not possible for any additional tasks relating to the
Bureau’s document productions to be completed within the existing discovery period, when the
Bureau has a full slate of work it needs to complete, including continuing its review of the 455,000
belatedly produced documents, reviewing more than 2,000 recently produced call recordings, and
reviewing at least 3,000 documents that were previously withheld on the basis of the bank
examination privilege. If the parties underestimated the amount of time that would be necessary to
complete discovery tasks – which appears to be what Defendants are suggesting in their letter – the
solution is not to try to impose an unworkable pace to meet the current deadline. Rather, as is
commonly done in civil litigation (and as Defendants have done in all of the lawsuits brought by
State Attorneys General), the solution is for both parties to consent to a fact discovery extension.
                                                       Respectfully submitted,
                                                       /s/ Nick Jabbour



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